                                                                                                Case 3:16-cv-02120-EMC Document 332 Filed 06/30/22 Page 1 of 5



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                                                                                                Attorneys for Defendant Academy Mortgage Corporation
                                                                                          13
                                                                                                                         UNITED STATES DISTRICT COURT
                                                                                          14                           NORTHERN DISTRICT OF CALIFORNIA

                                                                                          15    UNITED STATES OF AMERICA, EX                   Civil Action No. 3:16-cv-02120 (EMC) (SK)
                                                                                                REL. GWEN THROWER,
                                                                                          16
                                                                                                                  Plaintiff,
                                                                                          17                                                   ACADEMY MORTGAGE
                                                                                                       vs.                                     CORPORATION'S STATEMENT
                                                                                          18                                                   CONCERNING RELATOR'S MOTION TO
                                                                                                ACADEMY MORTGAGE                               CONSIDER WHETHER ANOTHER
                                                                                          19    CORPORATION,                                   PARTY’S MATERIAL SHOULD BE
                                                                                                                                               SEALED
                                                                                          20                      Defendant.
                                                                                                                                                  Judge:   Hon. Edward M. Chen
                                                                                          21

                                                                                          22
                                                                                                      Pursuant to Local Rule 79-5(f), Academy Mortgage Corporation (“Academy”)
                                                                                          23
                                                                                               respectfully submits this Statement concerning Relator’s Administrative Motion to Consider
                                                                                          24
                                                                                               Whether Another Party’s Material Should be Sealed, ECF 325. Relator’s Motion identifies the
                                                                                          25
                                                                                               following exhibits, which Academy seeks to maintain under seal:
                                                                                          26

                                                                                          27

                                                                                          28                                                -1-
                                                                                                  ACADEMY MORTGAGE CORPORATION'S STATEMENT CONCERNING RELATOR'S MOTION TO CONSIDER
                                                                                                     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED, Case No. 3:16-cv-02120 (EMC) (SK)
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                                                                                           1            Quoted material from Susan E. Neal’s Expert Report contained in Relator’s Motion to

                                                                                           2             Exclude Expert Testimony of Susan E. Neal;

                                                                                           3            Ex. A-1: Expert Report of Susan E. Neal;

                                                                                           4            Ex. A-2: Transcript of Susan E. Neal’s Deposition;

                                                                                           5            Ex. A-3: Transcript of James Wren Taylor, 30(b)(6) corporate representative of

                                                                                           6             Academy.

                                                                                           7             To the extent identified below, each document contains trade secret, proprietary

                                                                                           8   information, and/or relies on such information or borrower data, and therefore should remain

                                                                                           9   sealed.

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                                                                                          11                                          STANDARD OF REVIEW

                                                                                          12             Civil L.R. 79-5 requires the designating party to provide:
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                                                                                          13             a specific statement of the applicable legal standard and the reasons for keeping a
                                                                                                         document under seal, including an explanation of: (i) the legitimate private or public
                                                                                          14
                                                                                                         interests that warrant sealing; (ii) the injury that will result if sealing is denied; and (iii)
                                                                                          15             why a less restrictive alternative to sealing is not sufficient[.]

                                                                                          16
                                                                                               Civil L.R. 79-5(c)(1). Declarations may be provided when necessary. Id. “A party seeking to
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                                                                                               seal a judicial record submitted in connection with a dispositive motion bears the burden of
                                                                                          18
                                                                                               establishing that ‘compelling reasons’ support the sealing request.” Corthera, Inc. v. Scottsdale
                                                                                          19
                                                                                               Ins. Co., No. 14-cv-05014-EMC, 2016 U.S. Dist. LEXIS 3250, at *1 (N.D. Cal. Jan. 11, 2016)
                                                                                          20
                                                                                               (citations omitted). “The party seeking to maintain records under seal must articulate compelling
                                                                                          21
                                                                                               reasons supported by specific factual findings that outweigh the general history of access and the
                                                                                          22
                                                                                               public policies favoring disclosure of court records, such as the public interest in understanding
                                                                                          23
                                                                                               the judicial process.” Id. at *2 (citation omitted) (cleaned up). "In general, 'compelling reasons'
                                                                                          24
                                                                                               sufficient to outweigh the public's interest in disclosure and justify sealing court records exists
                                                                                          25
                                                                                               when such 'court files might have become a vehicle for improper purposes[.]’” Orthopaedic
                                                                                          26
                                                                                               Hosp. v. Encore Med. L.P., No. 19-CV-970, 2022 U.S. Dist. LEXIS 15436, at *4 (S.D. Cal. Jan.
                                                                                          27
                                                                                               27, 2022) (citations omitted). “The party seeking protection bears the burden of showing specific
                                                                                          28                                                        -2-
                                                                                                  ACADEMY MORTGAGE CORPORATION'S STATEMENT CONCERNING RELATOR'S MOTION TO CONSIDER
                                                                                                     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED, Case No. 3:16-cv-02120 (EMC) (SK)
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                                                                                           1   prejudice or harm will result if no protection is granted." Id. (citation omitted) (cleaned up). “That

                                                                                           2   the documents sought to be filed under seal are subject to a protective order, without more, does

                                                                                           3   not satisfy the compelling reasons standard.” Id. at *4-5 (citation omitted).

                                                                                           4                                              ARGUMENT

                                                                                           5      I.      Academy Has a Legitimate Interest that Warrants Sealing Which Outweighs the
                                                                                                          Presumption of Public Access
                                                                                           6
                                                                                                       Academy has an overriding legitimate interest that warrants sealing the Exhibits identified
                                                                                           7
                                                                                               above. Pursuant to the Stipulated Protective Order entered into in this matter (Dkt. 141),
                                                                                           8
                                                                                               Academy designated certain Exhibits as confidential, in part, because they contain or rely upon
                                                                                           9
                                                                                               confidential trade secret and other proprietary commercial information. Exhibits A-1 (and the
                                                                                          10
                                                                                               portion of Ex. A-1 quoted in Relator’s brief), A-2, and A-3 contain and/or rely on proprietary
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                                                                                          11
                                                                                               information created by and about Academy. Exhibits A-1 (and the portion of Ex. A-1 quoted in
                                                                                          12
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                                                                                               Relator’s brief) and A-2 rely on Academy policies, including Exhibit A-2 which contains
                                                                                          13
                                                                                               statements directly concerning specific origination policies and procedures. In other words, these
                                                                                          14
                                                                                               Exhibits reveal information about Academy’s trade secrets in the mortgage origination and
                                                                                          15
                                                                                               lending business that it uses to gain a competitive business advantage. The Exhibits contain
                                                                                          16
                                                                                               information about Academy’s financial standing and viability, business development, strategic
                                                                                          17
                                                                                               planning, performance, operations, marketing strategies, loan origination, underwriting, and
                                                                                          18
                                                                                               quality control policies and practices, as well as recruitment efforts. This information, distributed
                                                                                          19
                                                                                               in each exhibit, are considered trade secrets. See Cal. Civ. Code § 3426.1 (Trade secret includes
                                                                                          20
                                                                                               formulas, patterns, compilations, programs, devices, methods, techniques, or processes that
                                                                                          21
                                                                                               “[d]erives independent economic value, actual or potential, from not being generally known to the
                                                                                          22
                                                                                               public or to other persons who can obtain economic value from its disclosure or use[.]”).
                                                                                          23
                                                                                                       The public version of Exhibit A-3 will need to be redacted to reflect the following
                                                                                          24
                                                                                               portions of the transcript which Academy has designated as confidential: 131:10-138:24; 151:4;
                                                                                          25
                                                                                               151:12; 160:3-13; 161:11-16; 161:24-162:8; 162:11-15; 188:16-192:14. These sections discuss
                                                                                          26
                                                                                               confidential, internal business information and figures, including information regarding investors
                                                                                          27

                                                                                          28                                                   -3-
                                                                                                  ACADEMY MORTGAGE CORPORATION'S STATEMENT CONCERNING RELATOR'S MOTION TO CONSIDER
                                                                                                     WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED, Case No. 3:16-cv-02120 (EMC) (SK)
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                                                                                           1   and revenue generated.1 Academy does not object to the public filing of a redacted version of

                                                                                           2   Exhibit A-3, redacting the minimal confidential information identified.

                                                                                           3              California recognizes trade secrets, and the protection of the same. See, e.g., Cal. Civ.

                                                                                           4   Code § 3426, et seq. Courts are required to preserve trade secrets, and may do so by sealing court

                                                                                           5   records. See, e.g., Cal. Civ. Code § 3426.5 (“In an action under this title, a court shall preserve the

                                                                                           6   secrecy of an alleged trade secret by reasonable means, which may include . . . sealing the records

                                                                                           7   of the action[.]”). The Federal Rules of Civil Procedure expressly provide for the protection of

                                                                                           8   trade secrets, commercial information, and confidential research applications. Fed. R. Civ. P.

                                                                                           9   26(c)(1)(G). Academy has a strong interest in protecting its trade secrets, but if these Exhibits are

                                                                                          10   not sealed, Academy will lose its trade secrets and will suffer an irreparable injury to its
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                                                                                          11   competitive advantage.

                                                                                          12              The privacy rights of borrowers, employees, Academy, and the United States government
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                                                                                          13   outweigh the presumption to public access. Privacy rights are recognized and established. See,

                                                                                          14   e.g., Lin v. Suavei, Inc., No. 3:20-cv-862, 2021 U.S. Dist. LEXIS 245187, at *7 (S.D. Cal. Dec.

                                                                                          15   23, 2021); Harris v. Superior Court, 3 Cal. App. 4th 661, 664, 4 Cal. Rptr. 2d 564, 567 (1992);

                                                                                          16   Cal.Civ. Code § 3426, et seq. Second, the information contained in Academy’s Memorandum of

                                                                                          17   Points and Authorities in support of its Motion for Summary Judgment provides the public with

                                                                                          18   the information necessary to understand and access the litigation.

                                                                                          19        II.      Sealing the Exhibits Is the Only Appropriate Remedy to Protect Privacy Interests

                                                                                          20              Sealing the Exhibits is the only appropriate remedy to protect the privacy interests of

                                                                                          21   borrowers, employees, Academy, and the United States government. The Exhibits referenced by

                                                                                          22   Relator, ECF 325, are voluminous, primarily consist of confidential information, and would have

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                                                                                                 Relator includes the entire transcripts of both Ms. Neal and Mr. Taylor. Ms. Neal’s deposition occurred on June 15,
                                                                                          25   2022, and Academy still has time to designate portions of the transcript as confidential (see Dkt. 141 ¶ 24). Academy
                                                                                               received a copy of Ms. Neal’s transcript on June 17, requiring designations to be made by July 7, 2022. See
                                                                                          26   Protective Order (Dkt. 141 at ¶ 24). Once Academy has made its confidentiality designations from that transcript, it
                                                                                               will not object to a redacted copy of the transcript being filed, redacting the portions Academy identifies as
                                                                                          27   confidential.
                                                                                          28                                                          -4-
                                                                                                    ACADEMY MORTGAGE CORPORATION'S STATEMENT CONCERNING RELATOR'S MOTION TO CONSIDER
                                                                                                       WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED, Case No. 3:16-cv-02120 (EMC) (SK)
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                                                                                           1   a deleterious impact on confidentiality of discussions between Academy, the government,

                                                                                           2   employees, and Academy’s customers if disclosed.

                                                                                           3                                           CONCLUSION

                                                                                           4          For the foregoing reasons, Academy seeks to seal Exhibit A-1, the portions of Exhibit A-1

                                                                                           5   quoted in Relator’s brief, Exhibit A-2, and the following lines contained in Exhibit A-3: 131:10-

                                                                                           6   138:24; 151:4; 151:12; 160:3-13; 161:11-16; 161:24-162:8; 162:11-15; 188:16-192:14.

                                                                                           7

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                                                                                          10   DATED: June 30, 2022                                WEINER BRODSKY KIDER PC
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                                                                                                                                                   By: /s/ Jason W. McElroy
                                                                                                                                                       Jason W. McElroy
                                                                                          13                                                           Attorneys for Defendant
                                                                                                                                                       ACADEMY MORTGAGE
                                                                                          14                                                           CORPORATION
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                                                                                                  ACADEMY MORTGAGE CORPORATION'S STATEMENT CONCERNING RELATOR'S MOTION TO CONSIDER
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